Case 1:20-cv-08487-ESK-AMD Document 175 Filed 01/14/22 Page 1 of 6 PageID: 1917
                                                             Lanny S. Kurzweil           McCarter & English, LLP
                                                             Partner                     Four Gateway Center
                                                             T. 973-639-2044             100 Mulberry Street
                                                             F. 973-297-3810             Newark, NJ 07102-4056
                                                             lkurzweil@mccarter.com      www.mccarter.com




           January 14, 2022
           VIA ECF
           The Honorable Ann Marie Donio
           United States District Court for the District of New Jersey
           Mitchell H. Cohen Building & US Courthouse
           Fourth and Cooper Streets
           Camden, NJ 08101

           RE: Kimberly Bond, et. al. v. Solvay Specialty Polymers, USA, LLC, et. al.
               Civil Action No.: 1:20-cv-08487-NLH-KMW
               Theresa Slusser, et. al. v. Solvay Specialty Polymers, USA, LLC, et. al.
               Civil Action No.: 1:20-cv-11393-NLH-KMW
               Tammy O’Leary, et. al. v. Solvay Specialty Polymers, USA, LLC, et. al.
               Civil Action No.: 1:21-cv-00217-NLH-KMW
               Carly Corrar, et. al. v. Solvay Specialty Polymers, USA, LLC, et. al.
               Civil Action No.: 1:21-cv-00452-NLH-KMW
               Shirley Bond v. Solvay Specialty Polymers, USA, LLC, et. al.
               Civil Action No.: 1:21-cv-11203-NLH-KMW
           Dear Magistrate Judge Donio:
           This letter is being submitted in the above Group 2 matters jointly by Plaintiffs and
           by Defendants, E. I. du Pont de Nemours and Company (“DuPont”), The Chemours
           Company, The Chemours Company FC, LLC (together, “Chemours”), Solvay
           Specialty Polymers USA, LLC (“Solvay”), Arkema Inc. (“Arkema”), and 3M Company
           (“3M”) (collectively “Defendants”) and pursuant to Magistrate Judge Williams’
           Amended Scheduling Order, dated October 25, 2021 (Dkt. No. 57), and Your Honor’s
           Order, dated November 17, 2021 (Dkt. No. 58), to update the Court on the status of
           the Group 2 Cases before the January 18, 2022 status conference.

                 I.   Additional Cases

           One additional case, Nicole Bond v. Solvay Specialty Polymers, USA, LLC, et. al.
           (Civil Action No.: 1:21-cv-20755), was filed in the District of New Jersey on December
           29, 2021 by Group 2 Plaintiffs’ counsel [and marked as related to the Group 2 cases.]

           Plaintiffs’ counsel in the Group 2 cases has also filed four cases in the Superior Court
           of New Jersey in September and October 2021.1 The Amended Complaints in these

           1
               These cases are:

                      1. Stacey Allen v. A Clemente, Inc., et al. (SLM-L-198-21)
                      2. Eric Albritton v. A Clemente, Inc., et al. (SLM-L-187-21)



           ME1 39181212v.1
Case 1:20-cv-08487-ESK-AMD Document 175 Filed 01/14/22 Page 2 of 6 PageID: 1918
                                                                               January 14, 2022
                                                                                        Page 2




           cases assert claims against DuPont, Chemours, Solvay, Arkema, and 3M and also
           include an additional defendant, A. Clemente, Inc. and Anthony Clemente, Inc.,
           which operates a landfill in New Jersey [near the Chambers Works facility]. These
           Complaints were just recently served on Defendants on or around December 27,
           2021.

               II. Electronically-Stored Information Protocols, OPRA, and Protective
                   Orders

           Defendants are awaiting a substantive response from Plaintiffs’ counsel regarding
           the proposed ESI protocol as a follow up to the parties last conferral on October 11,
           2021. Defendants sent the current version of their proposed ESI protocol to Plaintiffs’
           counsel on October 15, 2021.

           Plaintiffs are awaiting a substantive response from Defendants’ counsel regarding
           Defendants’ review of a proposed Open Public Records Act request drafted by
           Plaintiffs for submission to the Department of Environmental Protection.

           The Court entered a Stipulated Discovery Confidentiality Order in Kimberly Bond and
           Theresa Slusser on December 2, 2020, and the parties will in short order submit
           substantively identical Stipulated Discovery Confidentiality orders in the remaining
           Group 2 cases (Corrar, Deese/O’Leary and Shirley Bond).

               III. Written Discovery

           Based on the parties’ agreement the deadline for responses and objections to
           outstanding written discovery requests is now January 24, 2022:

               I.       Defendants to all Plaintiffs

                            DuPont’s First Request for Production of Documents and First Set of
                             Interrogatories
                            Chemours’ First Set of Interrogatories
                            Solvay’s First Set of Discovery Requests
                            Arkema’s First Set of Requests for Documents and Interrogatories

                    3. Renee Mesogianes and William Mesogianes, h/w v. A Clemente, Inc., et
                       al. (SLM-L-199-21)
                    4. Marcia M. Philipp, Gerald L. Philipp h/w, and Gerald E. Philipp v. A
                       Clemente, Inc., et al. (SLM-L-181-21). This case includes two of the
                       same Plaintiffs (Gerald L. Philipp and Marcia Philipp) from the DNJ
                       Philipp matter (1:21-cv-9714) that is in the Group 2 cases in this
                       Court, with the addition of their son Gerald E. Philipp.




           ME1 39181212v.1
Case 1:20-cv-08487-ESK-AMD Document 175 Filed 01/14/22 Page 3 of 6 PageID: 1919
                                                                                     January 14, 2022
                                                                                              Page 3




                            3M’s First Set of Requests for Production and First Set of
                             Interrogatories

               II.       Plaintiffs to Defendants

                            Plaintiffs’ Requests for Production of Documents
                            Shirley Bond Interrogatories
                            Carly Corrar Interrogatories
                            Theresa Slusser Interrogatories

           The exception being that 3M’s responses to interrogatories in Slusser (which were
           served later by Plaintiff) are due on February 2, 2022.

           The parties are coordinating to schedule a continued conferral to discuss a few
           issues, including the following:

                    Collection of medical records. Defendants intend on jointly retaining a firm to
                     collect Plaintiffs’ medical records and the parties will discuss potential cost-
                     sharing and mutual access to records.

                    Scope of Plaintiffs’ medical records. The parties have disagreements on the
                     Plaintiffs’ anticipated production of medical records, namely the scope of
                     which Plaintiffs’ records should be produced, and which medical conditions
                     are relevant.

                    Open Public Records Act request to the State of New Jersey.

                    Plaintiffs’ request for production of materials from prior litigations.

                    Sequencing of document productions.

                    Proposed limitations on the total number of interrogatories that Group 2
                     plaintiffs may serve on each defendant. To date, Plaintiffs have served more
                     than 25, and as many as 50, total interrogatories on each Defendant (for
                     example, Plaintiffs have served 45 interrogatories on EID - 18 in Shirley Bond,
                     6 in Carly Corrar, and 21 in Theresa Slusser). Defendants are raising this
                     issue in order to get direction from the Court in light of the answers to these
                     interrogatories coming due soon as outlined above.

                     From Plaintiffs’ perspective, no Plaintiff has served more than 25
                     Interrogatories on any Defendant in any single case. In order to suggest that
                     Plaintiffs have exceeded the 25 interrogatory maximum, Defendants have
                     aggregated the number of interrogatories served by all Plaintiffs on each
                     Defendant. Using that approach, most of the Defendants have also exceeded




           ME1 39181212v.1
Case 1:20-cv-08487-ESK-AMD Document 175 Filed 01/14/22 Page 4 of 6 PageID: 1920
                                                                               January 14, 2022
                                                                                        Page 4




                   the 25 interrogatory maximum because each Defendant served more than 25
                   interrogatories in total on all Plaintiffs. That being said, when counsel
                   appeared before Judge Williams, Defendants suggested that the number of
                   Plaintiffs’ Interrogatories (but not Defendants’) be aggregated across all
                   cases when applying the 25 interrogatory maximum. Judge Williams rejected
                   this approach and indicated that each case was a separate litigation and there
                   was no reason to require any individual party to serve less Interrogatories
                   than permitted by Court rule. That stated, Plaintiffs welcome a complete
                   discussion about numbers of Interrogatories. From Plaintiffs’ perspective,
                   many of Defendants’ Interrogatories are duplicative and it would be best to
                   replace them with a uniform set of questions in order to minimize the need to
                   repeatedly answer the same question in each of Defendants’ Interrogatories.

                   Defendants disagree with Plaintiffs’ interpretation of what Magistrate Judge
                   Williams stated and we will be prepared to discuss it at the conference.

           The parties look forward to speaking with Your Honor on January 18th.

           Respectfully submitted,

           SZAFERMAN, LAKIND, BLUMSTEIN,
            & BLADER, P.C.
           /s/ Arnold C. Lakind
           Arnold C. Lakind, Esq.
           Attorneys for Plaintiffs
           101 Grovers Mill Road, Suite 200
           Lawrenceville, NJ 08648
           (609) 275-0400
           alakind@szaferman.com


           PHILLIPS & PAOLICELLI, LLP
           /s/ Steve Phillips
           Steve Phillips, Esq.
           Attorneys for Plaintiffs
           747 Third Avenue, 6th Floor
           New York, NY 10017
           (212) 388-5200
           sphillips@p2law.com




           ME1 39181212v.1
Case 1:20-cv-08487-ESK-AMD Document 175 Filed 01/14/22 Page 5 of 6 PageID: 1921
                                                                        January 14, 2022
                                                                                 Page 5




           PAUL, WEISS, RIFKIND, WHARTON & GARRISON, LLP
           /s/ Theodore V. Wells, Jr.
           Theodore V. Wells, Jr.
           Attorneys for Defendant Solvay Specialty Polymers USA, LLC
           1285 Avenue of the Americas
           New York, NY 10019
           (212) 373-3089
           twells@paulweiss.com

           GREENBAUM, ROWE, SMITH, & DAVIS, LLP
           /s/ John D. North
           John D. North, Esq.
           Attorneys for Defendant Arkema Inc.
           Metro Corporate Campus One
           P.O. Box 5600
           Woodbridge, NJ 07095
           (732) 476-2503
           jnorth@greenbaumlaw.com

           STEPTOE & JOHNSON LLP
           Robert L. Shuftan (pro hac vice)
           Attorneys for Defendant Arkema Inc.
           227 West Monroe Street, Suite 4700
           Chicago, IL 60606
           rshuftan@steptoe.com

           McCARTER & ENGLISH, LLP
           /s/ Lanny S. Kurzweil
           Lanny S. Kurzweil, Esq.
           Attorneys for Defendants E. I. du Pont de Nemours and Company,
           The Chemours Company, and The Chemours Company FC, LLC
           Four Gateway Center
           100 Mulberry Street
           Newark, NJ 07102
           (973) 622-4444
           lkurzweil@mccarter.com

           BRESSLER, AMERY & ROSS, P.C.
           /s/ Donald J. Camerson, II
           Donald J. Camerson, II, Esq.
           Attorneys for Defendant 3M Company
           325 Columbia Turnpike, Suite 301
           Florham Park, NJ 07932
           (973) 660-4433
           djcamerson@bressler.com




           ME1 39181212v.1
Case 1:20-cv-08487-ESK-AMD Document 175 Filed 01/14/22 Page 6 of 6 PageID: 1922
                                                               January 14, 2022
                                                                        Page 6




           MAYER BROWN LLP
           Andrew J. Calica, Esq. (pro hac vice)
           Attorneys for Defendant The 3M Company
           1221 Avenue of the Americas
           New York, NY 10020
           (212) 506-2256
           acalica@mayerbrown.com




           ME1 39181212v.1
